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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

 RICHARD LUTHMANN,

                      Plaintiff,

 v.                                                Case no. 2:25-cv-00337-JLB-NPM

 DANESH NOSHIRVAN,

                   Defendant.
 __________________________________/

                                           ORDER

        This cause comes before the Court upon pro se Plaintiff Richard Luthmann’s

 Objections to Magistrate Judge’s Order. (Doc. 12). When a party objects to a

 magistrate judge’s ruling on a non-dispositive motion, the district court must

 “modify or set aside” the order only if it is “clearly erroneous or is contrary to law.”

 Fed. R. Civ. P. 72(a). After review, the Court DENIES Plaintiff’s Objections.

        On May 16, 2025, Defendant Danesh Noshirvan moved for a thirty-day

 extension of time to respond to Plaintiff’s Complaint to allow Defendant time to find

 legal counsel. (Doc. 5). The original deadline to respond was May 16, 2025. The

 Magistrate Judge granted the extension on May 19, 2025. (Doc. 6). On May 17,

 2025, Plaintiff responded in opposition to the Motion for Extension of Time, but it

 was not docketed until May 20, 2025.1 (See Doc. 9).



 1 Plaintiff contends that some filings submitted to the Court do not appear on the case

 docket. (Doc. 12 at 3). After careful review, all items have been either docketed or stricken
 by the Clerk of Court. Plaintiff’s Disclosure Statement was docketed and stricken by the
 Court’s Order (Doc. 20) for using an incorrect form. Plaintiff’s Notice of Non-Consent to
 Magistrate Jurisdiction is docketed (see Doc. 8), as is his Response in Opposition to
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         Now, Plaintiff makes several objections to the granting of an extension of

 time to respond. (Doc. 12). First, Plaintiff argues that the Order granting the

 extension is void because Magistrate Judges cannot rule on dispositive or case-

 controlling orders without party consent. (See Doc. 12 at 1–2). However, “a motion

 to extend time . . . is a non-dispositive pretrial motion that a magistrate judge may

 decide.” Abdullah v. Blaquiere, 809 F. App’x 733, 735 (11th Cir. 2020); Fed. R. Civ.

 P. 72(a) (allowing magistrate judges to rule on non-dispositive pretrial matters).

 Thus, the Magistrate Judge has the authority to grant Defendant’s extension of

 time.

         Next, Plaintiff argues that the Magistrate Judge did not consider his

 opposition to the Motion for Extension of Time. (See Doc. 12 at 2). The Magistrate

 Judge had no such obligation. Indeed, “[w]hen an act may or must be done within a

 specified time, the court may, for good cause, extend the time . . . with or without

 motion.” Fed. R. Civ. P. 6(b) (emphasis added); see e.g., Mashburn v. Berryhill, No.

 3:17-CV-1202-J-32JBT, 2018 WL 3496091, at *1 (M.D. Fla. July 20, 2018) (sua

 sponte granting an extension of time to file a petition); Rodriguez v. Inch, No. 18-

 63134-CV, 2019 WL 8884618, at *1 (S.D. Fla. Apr. 9, 2019) (sua sponte granting an

 extension of time to file an amended petition).

         Last, Plaintiff argues that Defendant’s Motion for Extension of Time is a

 “legal nullity” because Defendant did not comply with the Middle District of

 Florida’s Local Rule 3.01(g) certification requirement or duty to confer in good faith


 Defendant’s Motion for Extension of Time (Doc. 9), and his Motion for Clerk’s Entry of
 Default (Doc. 10).
                                              2
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 with the opposing party before filing a motion. (Doc. 12 at 2) (citing Doc. 5).

 However, this argument overlooks that “a judge can temporarily modify or suspend

 the application of any rule[.]” M.D. Fla. Loc. R. 1.01(b).

       Accordingly, Plaintiff’s Objections to the Magistrate Judge’s Order (Doc. 12)

 is DENIED.

       ORDERED in Fort Myers, Florida, on July 9, 2025.




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